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                          UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF WEST VIRGINIA
                                   AT BECKLEY

MOUNTAIN VALLEY PIPELINE, LLC,

       Plaintiff,
v.                                                   CIVIL ACTION NO. 5:23-cv-00625

MELINDA ANN TUHUS,

       Defendant.


MOUNTAIN VALLEY PIPELINE, LLC,

       Plaintiff,
v.                                                   CIVIL ACTION NO. 5:23-cv-00626

ROSE ZHENG ABRAMOFF,

       Defendant.

REPORT OF PARTIES’ PLANNING MEETING AND PROPOSED DISCOVERY PLAN

       Pursuant to Fed. R. Civ. P. 26(f), LR 16.1 and 26.5 and the Court’s First Order and Notice

Regarding Discovery and Scheduling, a telephonic conference was held on November 21, 2023.

The following counsel participated in the conference:

       (a)     William V. DePaulo, counsel for Defendants Melinda Ann Tuhus and Rose Zheng

       Abramoff (“Defendants”).

       (b)     Timothy M. Miller and Austin D. Rogers, counsel for Plaintiff Mountain Valley

       Pipeline (“Plaintiff”).

1.     The parties will exchange the initial disclosures required by Rule 26(a)(1)(A) and the

Court’s First Order and Notice by January 9, 2024.

2.     The parties jointly recommend that the case not be placed on the Complex track.
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3.     The parties submit that this action is not suitable for any Alternative Dispute Resolution

(“ADR”) mechanism at this time.

4.     The parties jointly recommend April 1, 2024 as the cut-off date for amending the pleadings

and/or adding additional parties.

5.     The parties do not consent to the jurisdiction of the United States Magistrate Judge pursuant

to 28 U.S.C. § 636(c).

6.     Proposed Discovery Plan. The parties recommend discovery to be completed by August

16, 2024 and the following deadlines:

                 Rule 26(a)(2) expert disclosures by party with burden: JUNE 1, 2024

                 Rule 26(a)(2) expert disclosures by party without burden: JULY 1, 2024

                 Dispositive motions to be filed by: SEPTEMBER 23, 2024

                 Responses to dispositive motions to be filed by: OCTOBER 14, 2024

                 Replies in support of a party’s dispositive motions to be filed by: OCTOBER

                  28, 2024

                 Pretrial disclosures under Fed. R. Civ. P. 26(a)(3) by: NOVEMBER 26, 2024

                 Objections to pretrial disclosures by: DECEMBER 20, 2024

                 Jury instructions, voir dire questions, and verdict form by: NOVEMBER 21,

                  2024

                 Objections to jury instructions, voir dire questions, and verdict form by:

                  DECEMBER 7, 2024

                 Motions in limine by: NOVEMBER 21, 2024

                 Objections to motions in limine by: DECEMBER 5, 2024

                 Joint Final Pretrial Conference Order by: DECEMBER 20, 2024
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                  Pretrial conference: JANUARY 7, 2025

                  Mediation before: SEPTEMBER 16, 2024

                  Trial: JANUARY 21, 2025

       (c) Examinations/Inspections:N/A

7.     ESI and other matters relating to discovery: The parties have discussed disclosure of

electronically stored information and agree to provide such information in paper format or PDF,

flash drive or other suitable format, subject to objections to the disclosure of that information. If

a party believes that it is necessary that it be provided with electronically stored information in its

native format, such party may so request, and the parties agree to work toward a reasonable

resolution of any such request. To the extent the parties are unable to agree and/or disputes arise

in the course of discovery regarding electronically stored information, the parties will submit them

to the Court in accordance with Local Rules and the Federal Rules of Civil Procedure.


Dated: December 4, 2023


                                               Respectfully submitted,


                                               MOUNTAIN VALLEY PIPELINE, LLC,

                                               By Counsel

                                               /s/ Austin D. Rogers
                                               Timothy M. Miller, Esquire (WVSB #2564)
                                               Matthew S. Casto, Esquire (WVSB #8174)
                                               Robert M. Stonestreet, Esquire (WVSB # 9370)
                                               Jennifer J. Hicks, Esquire (WVSB # 11423)
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                                Counsel for Plaintiff



                                MELINDA ANN TUHUS and
                                ROSE ZHENG ABRAMOFF,

                                By Counsel


                                /s/ William V. DePaulo (with permission)
                                William V. DePaulo, Esquire (WVSB #995)
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                                Counsel for Defendants
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                       IN THE UNITED STATE DISTRICT COURT
                       SOUTHERN DISTRICT OF WEST VIRGINIA
                                   AT BECKLEY

MOUNTAIN VALLEY PIPELINE, LLC,

       Plaintiff,
v.                                                  CIVIL ACTION NO. 5:23-cv-00625

MELINDA ANN TUHUS,

       Defendant.


MOUNTAIN VALLEY PIPELINE, LLC,

       Plaintiff,
v.                                                  CIVIL ACTION NO. 5:23-cv-00626

ROSE ZHENG ABRAMOFF,

       Defendant.

                                CERTIFICATE OF SERVICE

       The undersigned, as counsel for Plaintiff Mountain Valley Pipeline, LLC hereby certifies

that a true and correct copy of the foregoing Report of the Parties’ Planning Meeting and Proposed

Discovery Plan was electronically filed this 4th day of December 2023, through this Court’s

CM/ECF system which will send an electronic notification to all parties.

                                  William V. DePaulo, Esquire
                                860 Court Street North, Suite 300
                                     Lewisburg, WV 24901
                                    Counsel for Defendants




                                             /s/ Austin D. Rogers
                                             Austin D. Rogers, Esquire (WVSB #13919)
